Case 8:08-cr-00223-AG Document 11-2 Filed 08/27/08 Page 1of2 Page ID#:47
- UNITED STATES DISTRICT COURT

Sacros-225

Case Number
U.S.A. v. JAGMOHAN S. DHILLON
& Indictment O Information

 

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "NIA",

OFFENSE/VENUE

O Petty Offense
& Felony

a. Offense charged as a:
O Misdemeanor 0 Minor Offense

. Date of Offense:
c. County in which first offense occurred:
Orange County
d. The crimes charged are alleged to have been committed in:
CHECK ALL THAT APPLY

& Los Angeles O Ventura
B Orange O Santa Barbara
& Riverside O San Luis Obispo

@& San Bernardino O Other
Citation of offense: 21 U.S.C. § 846, 841(a),841(a) 841(a),

1956(a)(3)(A)

RELATED CASE
Has an indictment or information involving this defendant and the

same transaction or series of transactions been previously filed and
dismissed before trial? No O Yes
IF YES Case Number

 

Pursuant to Section 11 of General Order 224, criminal cases may be
related if a previously filed indictment or information and the present
case:

a. arise out of the same conspiracy, common scheme,

transaction, series of transactions or events; or

b. involve one or more defendants in common, and would entail
substantial duplication of labor in pretrial, trial or sentencing
proceedings if heard by different judges.

Related case(s), if any: MUST MATCH NOTICE OF RELATED
CASE _ SA CR 08-191-AG

 

PREVIOUSLY FILED COMPLAINT
A complaint was previously filed on:
Case Number:
Charging:

 

The Complaint: O is still pending
C was dismissed on:

 

CR-72 (07/05) CASE SUMMARY

CASE SUMMARY

CENTRAL DISTRICT OF CALIFORNIA

ca ten

Defendant Number __ 8
Date of Birth
Investigative Agency (FBI, DEA, etc.)

1972

COMPLEX CASE

Are there 8 or more defendants in the ladictment/Information?:

B Yes*

Will more than 12 days be required
in the case-in-chief?
@ Yes* Oo

_. SRIGINAL

DEA, FBI

 

a

an No-. = _
Cb 3 ro

to present government's evidence
No ~—

 

*AN ORIGINAL AND 3 COPIES O

F THE NOTICE OF COMPLEX

CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE
ARRAIGNMENT IF EITHER YES BOX IS CHECKED.

SUPERSEDING INDICTMENT/AINFORMATION

This is the

 

superseding charge, i.e. I*, 274

The superseding case was previously filed on:

 

Case Number:

The superseded case:

O is still pending before Judge/Magistrate Judge

 

 

O was previously dismissed on:

Are there 8 or more defendants in the superseding case?

O Yes*

O No

Will more than 12 days be required to present government's evidence

in the case-in-chief?
2 Yes*

O No

Was a Notice of Complex Case filed on the Indictment of

Information?
D Yes

0 No

*AN ORIGINAL AND 3 COPIES OF THE NOTICE OF COMPLEX
CASE MUST BE FILED 2 BUSINESS DAYS BEFORE THE

ARRAIGNMENT IF EITHER YES

Is an interpreter required: & Yes

BOX IS CHECKED.

O No

IF YES, list language and/or dialect:

Punjabi

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Case 8:08-cr-00223-A Gyn ROR BTA HES DISHRECSEETAE Page 2 of 2 Page ID #:48
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

 

OTHER
B Male O Female
O USS. Citizen @ Alien
Alies Name(s):

This defendant is charged in: © Al! counts

2 Only counts: __1

C This defendant is designated as "High Risk" per
18 U.S.C. 3146(a)(2) by the U.S. Attorney.

0 This defendant is designated as "Special Case" per
18 U.S.C, 3166(b)(7).

O Yes
CO Yes

& No
O No

Is defendant a juvenile:
IF YES, should matter be sealed?

The area of substantive law that will be involved in this case includes:

O financial institution fraud © public corruption

O government fraud 0 tax offenses
O environmental issues O mail/wire fraud

Other: Conspiracy to Distribute and Posses with Intent to
Distribute

CUSTODY STATUS

Defendant is NOT in custody:

a. Date and time of arrest on complaint:

b. Posted bond at complaint level on:
In the amount of $

c. PSA supervision?

 

O Yes
d. Is a Fugitive? O Yes
e. Ison bail or release from another district:

O No
O No

 

f. D Has not been arrested but will be notified by summons to
appear.

g. Warrant requested: 0 Yes C1 No
Defendant is IN custody:
a. Place of incarceration: 0 State & Federal

b. Name of Institution:
c. If Federal: U.S. Marshal's Registration Number:

 

d. ( Solely on this charge. Date and time of arrest:

 

e. Onanother conviction: © Yes O No

IF YES O State O Federal O Writ of Issue
f. Awaiting trial on other charges: OYes O No

IF YES D State O Federal AND

Name of Court:
Date transferred to federal custody:

 

 

This person/proceeding is transferred from another district pursuant
to F.R.CrP. 20 21 400

 

EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information EXPLAIN:

 

freee

 

Date:

 

Yok

 

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Stet,

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f Ad 4 NS
Sigytbul MOF ASsist det OS Arner

TERRI K. FLYNN
Print Name

 

CR-72 (07/05)

CASE SUMMARY

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